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                   IN THE UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF TEXAS
                            MARSHALL DIVISION

INLAND DIAMOND PRODUCTS CO.           §
                                      §
v.                                    §
                                      §             Case No. 2:17-cv-416- JRG
HOYA OPTICAL LABS OF                  §
AMERICA, INC.                         §

                MINUTES FOR MARKMAN HEARING
        HELD BEFORE U. S. DISTRICT JUDGE RODNEY GILSTRAP
                            March 26, 2018
OPEN: 1:36 p.m.                                      ADJOURN: 3:05 p.m.
ATTORNEYS FOR PLAINTIFF:               See attached.

ATTORNEYS FOR DEFENDANT:                  See attached.

TECHNICAL ADVISOR:                        Don Tiller

LAW CLERKS:                               Hannah Jiam
                                          Ashbey Morgan

COURT REPORTER:                           Shelly Holmes, CSR-TCRR

COURTROOM DEPUTY:                             Jan Lockhart
TIME      MINUTES
1:36 p.m. Court opened. Counsel announced ready for hearing. Ms. Henry and Mr.
          Smith introduced co-counsel.
1:38 p.m. The Court noted the parties’ agreements on two claim construction terms.
          Argument was then heard on a claim-by-claim basis. Mr. Halan argued on
          behalf of Plaintiff. Mr. Isbester argued on behalf the Defendant.
3:05 p.m. The Court took the claim construction matters under advisement. Court
          adjourned.
